Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 1 of 11 PageID: 633



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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 Private Solutions, Inc.,
                                                  C.A. No. 15-3241 (AET)(TJB)
                    Plaintiff,
                                             (Motion Day: March 21, 2016, 9:00 a.m.)
                      v.

 SCMC, LLC d/b/a Seneca SCMC, LLC,

                    Defendant.


         Reply to Defendant’s Opposition to Plaintiff’s Motion for Leave to Amend
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 2 of 11 PageID: 634



                                                   TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

ARGUMENT .................................................................................................................................. 1

    I.    A motion is timely if it is filed the day after a federal holiday. .......................................... 1

    II. The mere passage of time is not a basis for denying a motion to amend under Fed. R. Civ.
        P. Rule 15(a). ...................................................................................................................... 2

    III. The proposed amendment sufficiently states a claim under New Jersey law. .................... 3

          a. The parent-subsidiary structure of Seneca Holdings and SCMC is the relationship for
             which a veil piercing action is appropriate. ................................................................. 4

          b. Sovereign Immunity ..................................................................................................... 7

CONCLUSION ............................................................................................................................... 7




                                                                      i
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 3 of 11 PageID: 635



                                                  TABLE OF AUTHORITIES

Cases

Adams v. Gould Inc., 739 F.2d 858 (3d Cir. 1984) ........................................................................ 2

Bailey v. United Airlines, 279 F.3d 194 (3d Cir. 2002) ................................................................. 1

Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173 (10th Cir.
  2010) ........................................................................................................................................... 7

Greenberg v. United States, 873 F. Supp. 912 (M.D. Pa. 1993) aff'd, 46 F.3d 239 (3d Cir. 1994) 1

Harrison Beverage Co. v. Dribeck Importers, Inc., 133 F.R.D. 463 (D.N.J. 1990) ................... 3, 4

Jurista v. Amerinox Processing, Inc., 492 B.R. 707 (D.N.J. 2013) ................................................ 4

Kuibyshevnefteorgsynthez v. Model, No. 93-4919, 1995 WL 66371 (D.N.J. Feb. 6, 1995) ......... 7

Pearson v. Component Tech. Corp., 247 F.3d 471 (3d Cir. 2001) ............................................. 4, 5

Somerlott v. Cherokee Nation Distributors, Inc., 686 F.3d 1144 (10th Cir. 2012) ........................ 8

State Dep't of Envtl. Prot. v. Ventron Corp., 94 N.J. 473 (1983) ............................................... 5, 6

The Mall at IV Grp. Properties, LLC v. Roberts, No. CIV.A. 02-4692(WHW), 2005 WL
  3338369 (D.N.J. Dec. 8, 2005) ................................................................................................... 6

Uniband, Inc. v. C.I.R., 140 T.C. 230 (2013) ................................................................................. 8

United States v. Bestfoods, 524 U.S. 51 (1998) ............................................................................. 6

Statutes

Fed. R. Civ. P. 15 ............................................................................................................................ 2

Fed. R. Civ. P. 6 .............................................................................................................................. 1




                                                                         ii
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 4 of 11 PageID: 636



       Pursuant to Local Rule 7.1(d), Plaintiff Private Solutions, Inc. (PSI) submits this reply to

Defendant’s brief in opposition to Plaintiff’s motion to amend its Complaint.

                                           ARGUMENT

I.     A motion is timely if it is filed the day after a federal holiday.

       Defendant incorrectly asserts that Plaintiff’s motion was not timely filed and should

therefore be subject to the higher “good cause” standard of Rule 16(b) of the Federal Rules of Civil

Procedure. Because February 15, 2015 was a federal holiday, Plaintiff’s motion was timely filed

and is subject only to the standards of Rule 15(a).

       The Third Circuit has encounter this situation before and determined that when a deadline

to file a motion falls on a legal holiday, the motion is timely if it is filed the next business day.

Bailey v. United Airlines, 279 F.3d 194, 203 (3d Cir. 2002). The Court of Appeals in Bailey

examined an essentially identical factual scenario in which the deadline for filing dispositive

motions fell on Columbus Day and the defendants filed their motion for summary judgment the

very next day. The district court found that the motion was timely and the Court of Appeals agreed,

noting that the rule is “consistent with this court’s recognition that ‘broad discretion should be

accorded district courts in the management of their calendars.’” Id. (citing Titus v. Mercedes Benz

of North America, 695 F.2d 746, 751 (3d Cir.)); see also Greenberg v. United States, 873 F. Supp.

912, 914 n.1 (M.D. Pa. 1993) (motion filed one day after deadline in scheduling order was timely

because the deadline fell on a holiday).

       The operative scheduling order in this matter was entered by this Court on January 7, 2016.

Dkt. No. 49. Pursuant to that order, the deadline to file motions to amend the pleadings was

February 15, 2016, Washington’s Birthday and a legal holiday. See Fed. R. Civ. P. 6(a)(6); see

also D.N.J. 2016 Motion Days, http://www.njd.uscourts.gov/sites/njd/files/MotionDays2016.pdf.



                                                 1
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 5 of 11 PageID: 637



Plaintiff filed its motion to amend on February 16, 2016, the next business day, thus making it

timely filed. Because Plaintiff’s motion was timely filed it is subject only to the liberal standard

set by Rule 15(a)(2). While Defendant expends considerable effort analyzing Plaintiff’s motion

under the standards of Fed. R. Civ. P. 16(b), that rule simply does not apply to a timely filed motion

to amend.

II.    The mere passage of time is not a basis for denying a motion to amend under Fed. R.
       Civ. P. Rule 15(a).

       When considering a motion to amend under Rule 15(a) “[t]he court should freely give leave

when justice so requires.” Fed. R. Civ. P. 15(a)(2). Defendant’s brief asserts the instant motion

does not meet the Rule 15 standard either because, “[n]ine months is considerable delay[.]” Def.

Br. at 7. This argument should be rejected because “[t]he passage of time, without more, does not

require that a motion to amend a complaint be denied[.]” Adams v. Gould Inc., 739 F.2d 858, 868

(3d Cir. 1984). Instead, the Court’s analysis should focus on whether the delay was undue, thus

imposing a burden upon the court, and whether the delay was prejudicial, thus imposing a burden

upon the opposing party. Id. “The question of undue delay, as well as the question of bad faith,

requires that [the court] focus on the plaintiffs’ motives for not amending their complaint to assert

this claim earlier; the issue of prejudice requires that we focus on the effect on the defendants.” Id.

       Here, Plaintiff sought leave to amend within the time set by the Court’s Scheduling Order.

The purpose of this amendment is to join a party in interest, Seneca Holdings, LLC (Seneca

Holdings). While this matter has been pending since October 2014, for much of that time, this

action was stayed as a result of a transfer of venue order transferring this case out of the District

of South Carolina and a fruitless mediation. See Dkt. Nos. 29 & 44. There has been only modest

discovery conducted to date.

       Based on this modest discovery, including the deposition of a SCMC corporate

                                                  2
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 6 of 11 PageID: 638



representative (see Dkt. No. 43 (seeking sanctions for failing to produce a proper corporate

witness)), PSI believes SCMC is an underfunded shell corporation dominated by its parent

company, Seneca Holdings. Plaintiff’s proposed amendment joining a veil piercing claim against

Seneca Holdings will not disadvantage SCMC or deprive it an opportunity to present its case, but

rather seeks to ensure that any judgment obtained against SCMC is not frustrated by a corporate

structure designed to create a sham defendant. SCMC’s ability to litigate this matter will not be

hindered in any way. See Harrison Beverage Co. v. Dribeck Importers, Inc., 133 F.R.D. 463, 468

(D.N.J. 1990) (“[I]ncidental prejudice to the opponent is not a sufficient basis for denial of an

amendment; such prejudice becomes undue when the opponent shows it would be unfairly

disadvantaged or deprived of the opportunity to present facts or evidence which it would have

offered.” (internal citations and quotations omitted)).

       Because Plaintiff’s timely motion to amend does not impose any undue burden on the

Court’s ability to resolve this matter or upon the Defendants’ ability to litigate this matter, the

instant motion should be granted.

III.   The proposed amendment sufficiently states a claim under New Jersey law.

       A court may properly deny a motion to amend under Rule 15(a) where the amendment

advances a claim that is legally insufficient, however “[i]f a proposed amendment is not clearly

futile, then denial of leave to amend is improper.” Harrison, 133 F.R.D. at 468 (D.N.J. 1990) (citing

Massarsky v. General Motors Corp., 706 F.2d 111, 125 (3d Cir.), cert. denied, 464 U.S. 937, 104

S.Ct. 348 (1983)) (quoting 6 Wright, Miller & Kane, Federal Practice & Procedure § 1487 at 637–

642 (2d ed. 1990)). The only new claim joined by the proposed amendment is a veil piercing claim

against SCMC. See Dkt. No. 53-2. PSI’s proposed amendment seeks to join legally cognizable

claims and should be granted.



                                                 3
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 7 of 11 PageID: 639



       SCMC improperly seeks to have the Court resolve the entirety of this dispute in the context

of a motion to amend. The viability of existing claims is irrelevant to the Court’s analysis under

Rule 15(a), as the futility analysis concerns only whether the amendment is sufficiently plausible

to present a triable issue. Thus, the only issue before the Court in the present matter is whether the

Proposed Amended Complaint sufficiently states a claim for piercing the corporate veil against

SCMC. “This does not require the parties to engage in the equivalent of substantive motion practice

upon the proposed new claim or defense; this does require, however, that the newly asserted

[claim] appear to be sufficiently well-grounded in fact or law that it is not a frivolous pursuit.” See

Harrison, 133 F.R.D. at 468-9 (emphasis added). Defendant’s argument that this Court should

strike existing claims from Plaintiff’s pleading while deciding a motion to amend is misplaced as

it should properly be made pursuant to a Rule 12 motion made after this motion is granted.

       a.      The parent-subsidiary structure of Seneca Holdings and SCMC is the
               relationship for which a veil piercing action is appropriate.

       The purpose of corporate liability protection is to allow shareholders to retain an ownership

interest in a corporation without fear of liability for the actions of the corporation. This underlying

principle applies equally to individual shareholders and to corporate shareholders in a parent-

subsidiary relationship. For this reason, the parent-subsidiary relationship alone is insufficient to

impose liability upon the parent corporation. Pearson v. Component Tech. Corp., 247 F.3d 471,

484 (3d Cir. 2001). However, in some instances it is necessary to disregard the protections of the

corporate shell in order to remedy “the ‘fundamental unfairness that will result from a failure to

disregard the corporate form.’” Jurista v. Amerinox Processing, Inc., 492 B.R. 707, 768 (D.N.J.

2013) (quoting Trustees of Nat. Elevator Indus. Pension, Health Benefit & Educ. Funds v. Lutyk,

332 F.3d 188, 193 n. 6 (3d Cir. 2003)). The factual allegations in Plaintiff’s proposed amendment

describe the very unfairness for which this equitable remedy exists, an underfunded puppet

                                                  4
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 8 of 11 PageID: 640



corporation that generates income for its parent, but leaves contracting partners with no recourse

for its tortious conduct when they later discover that the puppet is insufficiently capitalized, and

essentially judgment-proof.

       Under New Jersey law, an action to pierce the corporate veil requires two elements (1)

“that the parent so dominated the subsidiary that it had no separate existence but was merely a

conduit for the parent [,]” and (2) that “the parent has abused the privilege of incorporation by

using the subsidiary to perpetrate a fraud or injustice, or otherwise to circumvent the law.” State

Dep’t of Envtl. Prot. v. Ventron Corp., 94 N.J. 473, 501 (1983). To determine whether a court

should pierce the corporate veil, the court must be guided by various factors endorsed by the Third

Circuit:

       (1) Gross undercapitalization of the corporation; (2) failure to observe corporate
       formalities; (3) nonpayment of dividends; (4) insolvency of a debtor corporation;
       (5) siphoning of funds from the debtor corporation by the dominant stockholder;
       (6) nonfunctioning of corporate officers and directors; (7) absence of corporate
       funds; and (8) whether the corporation is merely a facade for the operations of the
       dominant stockholder.

Pearson, 247 F.3d at 484–85 (citing Jurista, 492 B.R. at 768 (D.N.J. 2013)). This analysis turns on

a fact-intensive inquiry that can only be made after Seneca Holdings is properly joined.

       Contrary to Defendant’s assertion, Plaintiff’s proposed amendment details factual

allegation which create a cognizable cause of action to pierce SCMC’s corporate veil. For example,

the Proposed Amended Complaint alleges that SCMC was capitalized only to the extent necessary

to maintain short-term operations and used the financial strength of Seneca Holdings as an

inducement when pursuing business in the State of New Jersey. Dkt. No. 53-2, ¶¶ 14-15, 37.

Additionally, the proposed amendment alleges that SCMC’s day-to-day operations were managed




                                                 5
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 9 of 11 PageID: 641



by Seneca Holdings, and that SCMC’s leadership took its direction from Seneca Holdings.1 Id. ¶¶

11-12, 38. Thus, “[SCMC] failed to observe corporate formalities in its operations, as the ultimate

decision making authority for the subsidiary was its parent company, Seneca Holdings.” Id. ¶ 13.

These allegations, if proven, support the conclusion SCMC was merely an underfunded conduit

through which Seneca Holdings conducted its business. Cf. Ventron, 94 N.J. at 501 (“the parent

has abused the privilege of incorporation by using the subsidiary to perpetrate a fraud or injustice,

or otherwise to circumvent the law.”).

       Defendant argues Plaintiff’s proposed amendment fails to satisfy the elements of fraud in

New Jersey. Def. Br. at 16. Defendant’s discussion of the law of fraud in New Jersey is irrelevant

to the present matter because to state a veil piercing claim “[p]laintiff need not prove common law

fraud, however, but rather must meet the less rigid standard of ‘fraud, injustice, or the like.’” The

Mall at IV Grp. Properties, LLC v. Roberts, No. CIV.A. 02-4692(WHW), 2005 WL 3338369, at

*3 (D.N.J. Dec. 8, 2005) (citing Kuibyshevnefteorgsythez v. Model, No. 93-4919, 1995 WL 66371

at *15 (D.N.J. Feb. 6, 1995)). As an equitable doctrine, “injustice or the like” is sufficient to state

a claim for veil piercing. Kuibyshevnefteorgsynthez, 1995 WL 66371, at *15. As detailed more

fully in Plaintiff’s proposed amendment, SCMC entered into a contract with a definite term of

three years and a monthly minimum of $65,000. Dkt. No. 53-2 ¶ 8. SCMC subsequently breached



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  It is worth noting here that the Supreme Court case cited by Defendant for the proposition that
“[i]t is a well-established principle [of corporate law] that directors and officers holding positions
with a parent and its subsidiary can and do ‘change hats’ to represent the two corporations
separately, despite their common ownership[,]” Def. Br. at 14; United States v. Bestfoods, 524
U.S. 51, 69 (1998), cited this principle in the context of a parent’s direct liability under a federal
statute. In drawing a distinction between a parent’s direct liability for a subsidiary’s actions versus
its derivative liability—i.e., veil piercing—the Court notes that “Control of the subsidiary, if
extensive enough, gives rise to indirect liability under piercing doctrine, not direct liability under
the statutory language.” Bestfoods, 524 U.S. at 68 (quoting Lynda J. Oswald, Bifurcation of the
Owner and Operator Analysis Under CERCLA: Finding Order in the Chaos of Pervasive Control,
72 Wash. U. L.Q. 223, 280 (1994)) (emphasis added).
                                                  6
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 10 of 11 PageID: 642



 the contract prior to completion of this term and falsely used the New Jersey building rehabilitation

 program as a pretextual justification for doing so. Id. ¶¶ 9-10, 25-27. Plaintiff then discovered that

 SCMC was merely an instrumentality used to shield Seneca Holdings from the “fraud, injustice,

 or the like” of SCMC. Id. ¶ 40.

        b.      Sovereign Immunity

        Defendant’s motion argues Seneca Holdings is entitled to the sovereign immunity of the

 Seneca Nation of Indians. This assertion is premature. While sovereign immunity may extend to

 subordinates of the tribe, such a finding should be supported (and tested) by a factual record that

 demonstrates a legally sufficient relation to the tribe. See e.g., Breakthrough Mgmt. Grp., Inc. v.

 Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1183 (10th Cir. 2010); Somerlott v. Cherokee

 Nation Distributors, Inc., 686 F.3d 1144, 1149 (10th Cir. 2012); Uniband, Inc. v. C.I.R., 140 T.C.

 230, 252 (2013). To date, no discovery has been conducted on this issue. It should be considered

 after Seneca Holdings is properly joined, after sufficient discovery, and after Seneca Holdings has

 made an appropriate dispositive motion raising the defense.

        The Court should not address it at this time.

                                           CONCLUSION

        For these reasons and those set forth above and in Plaintiff’s initial motion, this motion

 should be granted and the Court should permit PSI to amend its complaint and add Seneca

 Holdings as the true party in interest in this matter.

                                        Respectfully submitted by,

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                                                    7
Case 3:15-cv-03241-AET-TJB Document 57 Filed 03/14/16 Page 11 of 11 PageID: 643



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                                        8
